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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 JEREMIAS JULIO,
                                                                             CONFIDENTIALITY
                                                      Plaintiffs,            STIPULATION AND
                                                                             PROTECTIVE ORDER FOR
                               -against-                                     PRODUCTION OF POLICE
                                                                             OFFICER PHOTOGRAPGHS
 Police Officer STEVEN THEOPHILE, Shield No. 20214;
 Sergeant JOSEPH FIGLIOZZI, Shield No. 3204; Sergeant
 O’HARE; and JOHN and JANE DOE 1 through 10.,                                17 Civ. 4347 (NGG) (VMS)
                                          Defendants.

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                  WHEREAS, plaintiff has sought photographs of certain members of the New

 York City Police Department; and

                  WHEREAS, defendants deem these photographs to be confidential, and/or

 subject to certain privileges, including, without limitation, the law enforcement privilege, or

 otherwise inappropriate for public disclosure, and will only produce these photographs if

 appropriate protection for their confidentiality is assured; and

                  WHEREAS, good cause therefore exists for the entry of a protective order

 pursuant to Rule 26(c) of the Federal Rules of Civil Procedure;

                  NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by

 and among the attorney for plaintiff and the attorneys for defendants, as follows:

                  1.       As used herein, “Action” shall mean Jeremias Julio v Police Officer

 Theophile, et. al., 17 Civ. 4347 (NGG) (VMS).

                  2.       “Confidential Photographs” shall mean any and all photographs of any

 police officer of the New York City Police Department (“NYPD”) produced by defendants in

 this Action.
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                3.      Except as otherwise provided below in paragraph 5, Plaintiff’s attorney (or

 any member of the staff of their law firm) shall not disclose or disseminate the Confidential

 Photographs to any person other than plaintiff and plaintiff shall not disclose or disseminate the

 Confidential Photographs to any other persons.

                4.      Neither plaintiff nor plaintiff’s attorney may use the Confidential

 Photographs for any purpose other than to assist with identification of officers present during the

 incident in this Action and determining the role of each officer.

                5.      Plaintiff’s attorney may show the Confidential Photographs to a witness

 appearing at a deposition in this matter for the purpose of identifying the officers who were

 present during the incident in this Action and determining the role of each officer.

                6.      Neither plaintiff nor plaintiff’s attorney (or any member of the staff of

 their law firm) shall make any copies, electronic or otherwise, of, or upload, digitalize, scan or

 computerize in any fashion, the Confidential Photographs.

                7.      The Confidential Photographs shall be returned to defendants’ counsel in

 their original form within fourteen (14) days following the completion of depositions in this

 Action.

                8.      Neither plaintiff nor plaintiff’s attorney (nor any member of the staff of

 their law firm) shall retain any copy, electronic or otherwise, of the Confidential Photographs.

                9.      Plaintiff’s counsel (or any member of the staff of their law firm) shall not

 permit any person to whom plaintiff’s counsel may have disclosed or disseminated a copy of the

 Confidential Photographs to retain any copies of such photographs.




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               10.     Nothing in this Stipulation of Confidentiality and Protective Order shall be

 construed to limit the defendants’ use of the Confidential Photographs in any manner.


 Dated: New York, New York
        November _____,
                   29   2017


 Gabriel Harvis, Esq.                                ZACHARY W. CARTER
 Harvis & Fett, LLP                                  Corporation Counsel of the
 Attorneys for Plaintiffs                            City of New York
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                                                     New York, New York 10007
                                                     (212) 356-0892




 By:    ________________________             By:     __________________________
        Gabriel Harvis, Esq.                         Daniel G. Saavedra
                                                     Assistant Corporation Counsel



                                             SO ORDERED:



                                             ________________________________
                                             HONORABLE VERA M. SCANLON
                                             UNITED STATES MAGISTRATE JUDGE
                                             Dated:_____________________




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